                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN
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ESTATE OF JAY ANDERSON, JR.
by Special Administrator, Starkeisha DeLaRosa;
J.A. minor child, through her next friend Starkeisha DeLaRosa,

                                         Plaintiff,                       Case No. 2:21-cv-1179

v.

CITY OF WAUWATOSA,
OFFICER JOSEPH ANTHONY MENSAH,
in his individual capacity, and
FORMER CHIEF OF POLICE BARRY WEBER,
in his Official capacity,

                              Defendants.
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      DEFENDANT, JOSEPH MENSAH’S REPLY BRIEF IN SUPPORT OF MOTION
                     FOR LIMITED STAY OF DISCOVERY
______________________________________________________________________________
        Defendant, Joseph Mensah, by his attorneys, Gunta Law Offices, S.C., hereby submits this

Reply Memorandum in support of his Motion for a Limited Stay of Discovery.

                                           INTRODUCTION

        On October 21, 2020, the same Plaintiffs in this civil proceeding, through the same counsel

filed a John Doe “Petition” seeking a criminal complaint be filed against Officer Mensah in

connection with the shooting death of Jay Anderson Jr., which occurred on June 23, 2016. See

(Exhibit A, “John Doe Petition”) The criminal John Doe Proceeding against Defendant Mensah is

pending in Milwaukee County Circuit Court. See (Milwaukee County Case Number

2020JD000015)1 A search of the electronic docket indicates that the last hearing occurred via zoom



1
 Wisconsin Circuit Court Access’ website (CCAP) for Milwaukee County Case Number 2020JD000015 In RE:
968.02(3) Complaint.

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on March 18, 2022, and the next hearing is scheduled for April 29, 2022, in person. (Id. fn. 1) The

special prosecutors were originally provided 60 days to complete their review and render a

charging decision See (Dkt. 28 at fn. 3)—a recording from the Courts’ most recent hearing

indicates that a decision will be made “within four to six weeks.” 2 The decision will be whether

or not to charge Defendant Mensah criminally for his actions in relation to the June 23, 2016,

incident.

          On February 24, 2022, Defendants filed their Motion seeking a limited stay for discovery

directed only to Defendant Officer Mensah. (Dkt. 28) While the Motion was pending Plaintiffs

noticed the deposition of Defendant Mensah without the agreement of Defendants, which required
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Defendants to file an expedited Motion for a Protective order on March 9, 2022. (Dkt. 29)

          For the reasons and the arguments below, Defendants’ respectfully requests that this Court

grant their motion and stay discovery—only as directed to Officer Mensah—until the special

prosecutors’ charging decision in the parallel John Doe proceeding which is expected by April 29,

2022. This will permit Defendant Mensah the ability to exercise both his constitutional right not

to testify against himself and to allow this civil case to proceed justly and with full discovery.

                                                  DISCUSSION

          Plaintiffs correctly state that Defendant Mensah has not been charged with a crime in

connection with the shooting death of Jay Anderson Jr. (Dkt. 32, at 1) However, the lack of a

criminal complaint should not prevent a stay as the fifth amendment privilege against self-

incrimination does not require pending criminal charges.


2
    https://www.youtube.com/watch?v=pmsW5OUmeyM (link to Court’s March 18, 2022 hearing)

3
  Defendants filed similar motions seeking limited stays and for protective order in another pending federal matter
against Officer Mensah. See (Dkt. 24 in Estate of Antonio Gonzales Jr., et al. v. Mensah, et al., Eastern District Case
No 2:21-cv-00848-LA). On March 10, 2022, Judge Adelman denied the Motion to Stay, but did grant Defendants’
request for a protective order prohibiting Plaintiffs from seeking discovery from Mensah as it relates to his conduct
involving Anderson matter. Id. at 3.

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       The Fifth Amendment provides that “[n]o person ... shall be compelled in any criminal case

to be a witness against himself.” U.S. Const. amend. V. The privilege may be “asserted in any

proceeding, civil or criminal, administrative or judicial, investigatory or adjudicatory; and it

protects against any disclosures which the witness reasonably believes could be used in a criminal

proceeding or could lead to other evidence that might be so used.” Kastigar v. United States, 406

U.S. 441, 444–45 (1972)(citations omitted). The privilege extends to answers that would

themselves implicate the witness in a crime as well as those that would furnish a link in the chain

of evidence needed to prosecute the witness for a crime. Hoffman v. United States, 341 U.S. 479,

486, 71 S.Ct. 814, 95 L.Ed. 1118 (1951). Courts must liberally construe the privilege against

compulsory self-incrimination in favor of the right it was intended to secure. Id.

        The Seventh Circuit has articulated a 6-factor balancing test to determine when a court

may use its discretion to stay civil proceedings, postpone civil discovery, or impose protective

orders and conditions “when the interests of judice seem to require such action.” Doe v. Cty. of

Milwaukee, No. 14-C-200, 2014 WL 3728078, at *5 (E.D. Wis. July 29, 2014); See also Tostado

v. Jackson, No. 10–CV–1162, 2011 WL 2116396, at * 2 (E.D.Wis. May 25, 2011); Bruner Corp.

v. Balogh, 819 F.Supp. 811, 813 (E.D. Wis. 1993).

       A.      The Interest of Justice Requires a Limited Stay.

       A limited stay of discovery is required to guard against discovery in the civil case being

used to influence the parallel criminal case.

       Litigants involved in both civil and criminal cases with the same central facts
       should not be able to use the liberal discovery procedure available in the civil
       actions to circumvent the restrictions on criminal discovery.

Doe v. Cty. of Milwaukee, No. 14-C-200, 2014 WL 3728078, at *5 (E.D. Wis. July 29, 2014).

Here, there is more than a significant danger that Plaintiffs and Attorney Motley may use civil



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discovery to obtain evidence and information for use in the John Doe proceeding thereby

circumventing Officer Mensah’s Fifth Amendment right against self-incrimination—they have

demonstrated such conduct.

                 1.       The Same Subject Matter of Both Cases Favors a Limited Stay.

        Plaintiffs argue that “it is unclear if this case and the John Doe matter involve the same

subject matter.” (Dkt. 32, at 2) Plaintiffs then claim that “without documentation is impossible to

compare the facts of a possible criminal charge with the facts of this case.” Id. at 3. Plaintiffs’

argument is disingenuous. A review of the petition as referenced in Defendant Mensah’s moving

brief clearly demonstrates that there is no dispute that this civil action involves the same subject

matter as the ongoing John Doe investigation—the June 23, 2016, officer-involved shooting of

Anderson. Specifically, the petition alleges that Officer Mensah’s shooting Anderson constituted

excessive force, that Anderson had committed no crime when Officer Mensah approached his

parked vehicle in Madison Park; and that Officer Mensah failed to follow his training when he

approached Anderson’s vehicle. See (Exhibit A, “John Doe Petition” at 4-5, 9; compare Dkt. 1,

Federal Compl. at ¶¶ 91-144)4 The claims asserted in this civil case mirror those asserted in the

John Doe petition.

        Plaintiffs further assert that they have brought additional claims for “Failure to Train, Equal

Protection, and the American with Disabilities Act.” (Dkt. 32, at 3). First, Plaintiffs have not

alleged any such claim under the American with Disabilities Act. See generally (Dkt. 1,

Complaint) To be clear, Plaintiffs’ Complaint asserts four causes of action. Id. at 19-31. The first

three are brought pursuant to Section 1983 and allege: Excessive Force (Id. at 19-23), Denial of

Equal Protection (Id. at 23-27), and Loss of Society and Companionship (Id. at 27-28). The fourth


4
 Although Defendants referenced the John Doe Petition in their moving brief (Dkt. 28, at fn 1) a copy is attached
for the Court.

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cause of action (which is not actually a cause of action) is for indemnification under Wisconsin

Statute Section 895.46. Id. at 28-31.

       Second, the only subject matter covered in the civil proceeding not directly covered

(although sufficient intertwined) by the John Doe petition are the municipal liability allegations

against the City of Wauwatosa. Id. 21-23; 25-26. In Bruner Corp. v. Balogh, the court granted a

stay for a civil defendant recognizing that despite the civil action being broader in scope than the

criminal complaint, “the subject matter is sufficiently intertwined for the Court to conclude that

there exists more than a ‘possibility’ that [the Defendants] testimony could ‘aid in’ the state

prosecution against him. 819 F. Supp. 811, 814 (E.D. Wis. 1993).

       Regardless, Defendants have not prohibited Plaintiffs, nor are they asking the Court to stay

discovery related to the municipal liability claims. In fact, Plaintiffs have already served, and

defendants have already provided extensive documents responsive to their discovery demand

regarding municipal polices and training. Moreover, Plaintiffs are free to depose any other

defendant or third-party witness. Plaintiffs previously requested the deposition of two non-

defendant Wauwatosa Police Officers and despite being provided availability—Plaintiffs have yet

to notice those depositions.

       Similarly, Plaintiffs’ assertion that Defendant Mensah may have information relevant to a

“policy and practice” claim against the City of Wauwatosa is a non-starter. (Dkt. 32, at 3) Plaintiffs

are free to depose a Rule 30(b)(6) witness who can speak on behalf of Wauwatosa or its police

department regarding policy and practice. Moreover, Defendant is seeking only a limited stay of

discovery (likely ending April 29, 2022) at which point Plaintiffs can request any such relevant

information.




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               2.      Attorney Motley’s Involvement in the John Doe Proceeding Favors a
                       Limited Stay.

       It is undisputed that the government is not a party to this civil action. Contrary to Plaintiffs’

representation that “Attorney Motley [sic] no longer has any role in the John Doe Proceedings”

(Dkt. 32, at 3)(emphasis added), even a simple review of the John Doe Court record proves that

Attorney Motley is very much involved in the John Doe Proceedings. The electronic court record

from the March 18, 2022 hearing, reveals that Attorney Motley not only appeared on behalf of the

petitioners, but was “seeking to file [a] contempt motion re subpoena duces tecum.” (Supra fn. 1

“court activity”) Most notably, during the March 18, 2022, hearing Attorney Motley specifically

referenced discovery (phone records) provided by Defendants in this civil case as “critical

evidence” to the John Doe investigation and advised the court she had provided those discovery

materials to the special prosecutors for use in their investigation. See generally (fn. 2) Attorney

Motley further advised the court there may be additional photos and videos that were received in

civil discovery that were not previously provided to her. Id.

       Incredibly, despite doing exactly what Defendant contended Plaintiffs would do (use civil

discovery to obtain evidence and information to use in the John Doe proceedings) Plaintiffs

dismiss the argument as “without any basis.” (Dkt. 32, at 3) Without question there is a basis to

believe Plaintiffs and Attorney Motley will continue their attempts to use the discovery obtained

in this civil proceeding (specifically Officer Mensah’s deposition testimony) to influence the

results of the John Doe Proceedings.

               3.      The Existence of an Active John Doe Investigation Favors a Limited
                       Stay.

       Plaintiffs argue the lack of “indictment or complaint” against Defendant Mensah weighs

against a stay of discovery. (Dkt. 32, at 3) In support of this argument, Plaintiffs cite DeMarb v.



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Isroff, No. 20-CV-778-PP, 2021 WL 4250086, at *4 (E.D. Wis. Sept. 17, 2021) which is easily

distinguished.

           DeMarb requested a stay of the entirety of his civil proceedings based on the potential

threat that he was the target of an ongoing bank fraud investigation. Id. * 3. The DeMarb court

noted that a stay is disfavored where the court has no way of knowing if or when the government

will move ahead with criminal charges. Id. at *6 (citing Chagolla v. City of Chi., 529 F. Supp. 2d

941, 946 (N.D. Ill. 2008)). At the time the court ruled on the motion to stay in DeMarb the bank

fraud investigation had been ongoing for nearly two years, there was no indication of when the

investigation would end, and the civil litigation had already been informally stayed for eleven

months awaiting a decision on the motion to stay. Id. at *2-5. Plaintiff also had a compelling

argument that as time passes, more suits may be filed, assets may be liquidated or dissipated and

the funds available to creditors may shrink which weighed against a stay.

           Here, Judge Yamahiro has determined that there is probable cause that Officer Joseph

Mensah operated a weapon in a manner constituting criminal negligence. 5 Although Defendants

disagree with that finding, it is much more definite than the extrajudicial investigation in DeMarb.

While the special prosecutors’ investigation is ongoing, at the hearing on March 18, 2022, the

special prosecutors indicated they would be rendering their decision in “four to six weeks” and in

response the court set a hearing for April 29, 2022. (See generally fn. 2) Defendant Mensah is not

asking for an indefinite stay of the entire civil proceeding. He is simply requesting a limited stay

of discovery directed to him until the special prosecutors render a decision—most likely before

April 29, 2022.




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    Supra fn 1. (Docket 88)

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       Simply stated, the active state court proceeding provides a way of knowing if and when

criminal charges will move forward and the posture of the John Doe investigation weighs in favor

of a limited stay of discovery.

               4.      The Interest of the Public Favors a Limited Stay.

       A limited stay of discovery furthers the public interest in safeguarding the protections of

the Fifth Amendment and promotes the public interest in allowing civil disputes to be fairly

decided with a full factual record. In addition, staying discovery will promote an efficient use of

judicial resources in that it may reduce the scope of issues or remove the burden of numerous

privilege issues that are likely to arise if discovery proceeds. These factors weigh in favor of

granting a limited stay of discovery as it relates to Defendant Mensah.

               5.      Balancing the Interest of Both Parties Favors A Limited Stay.

       Given the anticipated brevity of the stay, Plaintiffs will not be irreparably harmed by the

stay. All other discovery can proceed and in fact has proceeded. As discovery is open until

September 30, 2022 (Dkt. 21, at ¶ 3), it is unlikely that the stay will necessitate any amendment to

the scheduling order. Moreover, Plaintiffs’ suggestion that their case would be harmed as time

passed because “evidence disappears and memories fades” fails to account for the fact that vast

amounts of evidence was already provided to them during the John Doe proceeding, was again

provided to them in the current matter, and that the event occurred almost 6 years ago—any

memories that may “fade” have likely already done so.

       On the other hand, if this case continues without the limited stay, Officer Mensah would

be severely burdened by being forced to choose between responding to discovery, thereby waiving

his Fifth Amendment Right and opening the door to criminal prosecution or refusing to respond to

discovery thereby seriously prejudicing his ability to defend himself against the allegations in this



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lawsuit. Plaintiffs’ suggestion that Defendant Mensah “will always face some concern over self-

incrimination” (Dkt. 32 at p. 4) is merely speculative. Even if true, Defendant Mensah is not

seeking a stay based on “some concern over self-incrimination” rather his request for stay is based

on the reality confronting him—a pending state court John Doe proceeding.

        The harm to Defendant Mensah, by forcing to him to choose between exercising his Fifth

Amendment privilege against self-incrimination or allowing him to defend himself in this civil

litigation weighs in favor of granting a limited stay of discovery.

                                      CONCLUSION

       Officer Mensah respectfully request that this Court exercise its discretion and grant a

limited stay until the special prosecutors render a decision to respond to Plaintiffs’ discovery

directed to Officer Mensah, including producing Officer Mensah for any deposition. This is no

way prohibits Plaintiffs from deposing any other defendant or third-party witnesses, nor does it

prevent Plaintiffs from directing discovery to any other defendant—which they have.

       Dated at Wauwatosa, Wisconsin this 31st day of March 2022.

                                                     GUNTA LAW OFFICES, S.C.
                                                     Attorneys for Defendants

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